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                     EXHIBIT 3
     Letter from Ronald D. Green, Jr.
    to Val Gurvits dated June 26, 2015
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                                                                             Ronald D. Green
                                                                                      Partner
                                                                              Licensed in NV




                                                                              June 26, 2015

Via Email Only
<vgurvits@bostonlawgroup.com>

Val Gurvits
Boston Law Group, P.C.
825 Beacon St., Suite 20
Newton Centre, MA 02459

       Re: AMA Multimedia, LLC adv. Borjan Solutions S.L. et al. – Arbitrator Selection

Dear Val:

Since we last spoke, AMA Multimedia, LLC (“AMA”) has been researching and vetting
potential arbitrators located in the State of Nevada. After a thorough search, we believe
that the following 3 potential arbitrators are not only qualified to adjudicate the dispute
between AMA and your clients but also show no discernable bias for or against
intellectual property owners over alleged infringers. Any thoughts that you have with
regard to the following individuals are appreciated.

1.     The Honorable Philip Pro: As you know, we have previously proposed Judge Pro
       as the arbitrator for this matter, and your client rejected him. We ask that you
       reconsider. Judge Pro served on the Nevada federal bench for nearly 3 decades.
       In that time, he rightly gained a reputation as one of the smartest and fairest
       judges to preside over a Nevada court. Your issue with Judge Pro was apparently
       that he did not have the “necessary IP background to properly understand this
       dispute.” However, that is simply not true. Judge Pro has presided over dozens of
       intellectual property cases more complex than this and has never shown any
       favoritism to plaintiffs or defendants. If your objection to Judge Pro is that both
       Marc and I have appeared before him, please let us know. However, to suggest
       that he is unqualified is not a well-founded objection.

2.     Ara Shirinian: If Judge Pro is unacceptable to your client and you, we also suggest
       and would be comfortable with Ara Shirinian, whose biography can be found at
       <arashirinianmediation.com>. Mr. Shirinian has an excellent reputation in Nevada
       as a fair arbitrator and mediator. Neither Marc nor I have appeared before Mr.
       Shirinian before. He is willing to work with the parties on the applicable rules that
       will apply to the dispute and regarding the discovery schedule. By way of full
       disclosure, I had a short conversation with Mr. Shirinian about this matter earlier
       this week, but we discussed nothing of substance. I invite you to contact him and
       have a brief conversation with him before agreeing that he would be an
       appropriate arbitrator for this matter.




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3.     Joseph Bongiovi: Finally, as with Mr. Shirinian, Joe Bongiovi is one of the most
       respected and utilized arbitrators in the State of Nevada. His website is located at
       <bongiovi.com>. He has presided over thousands of arbitrations and mediations
       and is equally respected by plaintiffs’ and defendants’ counsel in the state. Mr.
       Bongiovi is knowledgeable and qualified to handle a wide range of matters. I
       have not spoken with Mr. Bongiovi regarding this matter. However, if you would
       like to speak with him to get a better idea as to whether he is suitable to preside
       over this dispute, I would certainly invite you to do so.

It is our hope that the parties can agree upon an acceptable arbitrator quickly so that
we might get this matter resolved for both of our clients. Given that the parties’
settlement agreement requires that arbitration occur in Nevada, we do not feel that it
makes sense to retain an arbitrator located out-of-state. There are several qualified
arbitrators in southern Nevada, and it will be more cost-effective for both of our clients to
retain someone that already lives here.

Please approve one of these individuals by Friday, July 3, 2015. If you have any
questions, please feel free to contact me at your convenience.

                                           Sincerely,




                                           Ronald D. Green
